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   8
                            UNITED STATES DISTRICT COURT
   9
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11
     PARAMOUNT PICTURES                           Case No. 2:19-cv-01156-DMG-PJWx
  12 CORPORATION; COLUMBIA
     PICTURES INDUSTRIES, INC.;
  13 DISNEY ENTERPRISES, INC.;                    PLAINTIFFS’ MEMORANDUM IN
     TWENTIETH CENTURY FOX FILM                   OPPOSITION TO DEFENDANTS’
  14 CORPORATION; WARNER BROS.                    EX PARTE APPLICATION TO
     ENTERTAINMENT INC.;                          REQUEST THAT THE COURT
  15 UNIVERSAL CITY STUDIOS                       COMPEL MEDIATION
     PRODUCTIONS LLLP; UNIVERSAL
  16 TELEVISION LLC; and UNIVERSAL                Judge: Hon. Dolly M. Gee
     CONTENT PRODUCTIONS LLC,                     Courtroom: 8C
  17
              Plaintiffs,                         Magistrate Judge Hon. Patrick J. Walsh
  18
          vs.                                     Filed concurrently:
  19                                              Declaration of Rose Leda Ehler and
     OMNIVERSE ONE WORLD                          Exhibits Thereto
  20 TELEVISION, INC.; JASON M.
     DEMEO,
  21
              Defendants.
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                                                                        Case No. 2:19-cv-01156
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   1                                   INTRODUCTION
   2        Defendants’ ex parte application is styled as a request to “compel mediation,”
   3 but their true goal—revealed only in the concluding sentence to their application—is
   4 a stay of discovery. Neither form of relief is warranted here. Defendants have not
   5 so much as cited, much less attempted to satisfy, the heightened requirements for
   6 seeking ex parte relief. See Mission Power Eng’g Co. v. Continental Cas. Co., 883
   7 F. Supp. 488, 492 (C.D. Cal. 1995); see also Initial Standing Order at 10, ECF No.
   8 17 (“Ex parte applications are solely for extraordinary relief and should be used with
   9 discretion.”). For that reason alone, the Court should deny the application.
  10        Defendants’ request for a mediation (and a stay of discovery) is also
  11 premature. Consistent with the Federal Rules of Civil Procedure, Plaintiffs are
  12 entitled to discover the extent and willfulness of Defendants’ copyright
  13 infringement. Plaintiffs’ goal is genuine: they seek to conclusively resolve
  14 Defendants’ infringing conduct (and stop it from happening again) and obtain
  15 damages for past infringement as expeditiously and economically as possible.
  16 Plaintiffs are not opposed to a mediation when one would be productive, after
  17 Defendants respond to the outstanding discovery they seek to avoid, so that the
  18 information central to this action’s claims and defense is known to both parties. The
  19 Court should deny Defendants’ ex parte application.
  20                                    BACKGROUND
  21        Plaintiffs are copyright owners of numerous popular and acclaimed films and
  22 television shows that appear on live television every day. Defendants Jason M.
  23 DeMeo and the company that he founded, Defendant Omniverse One World
  24 Television, Inc., illegally obtained transmissions of live television programming—
  25 including Plaintiffs’ works—and then further streamed them over the internet to end
  26 users without authorization, infringing Plaintiffs’ exclusive public performance and
  27 reproduction rights under 17 U.S.C. § 106. (See Complaint at ECF No. 1.)
  28

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   1         Since Plaintiffs filed this action, they have been seeking targeted discovery,
   2 which Plaintiffs believe would establish liability and Defendants’ willful
   3 infringement. (See Decl. of Glenn D. Pomerantz in Supp. of Pls. Opp’n to Defs.
   4 Mot. ¶¶ 2-4, ECF No. 34-1.) Instead of complying, Defendants obstructed these
   5 efforts. After this Court granted stipulated early subpoenas to Hovsat and DirecTV
   6 (the entities that Defendants claim authorized their infringing conduct), Defendants
   7 refused to provide Plaintiffs with the contact information they had for Hovsat’s
   8 attorney so that Plaintiffs could discuss Hovsat’s response to the subpoena.1 (Id.
   9 ¶ 4.) Not surprising to Plaintiffs, and as Defendants have subsequently admitted,
  10 there is no evidence to support Defendants’ claim of authorization from DirecTV.
  11 (See id. ¶ 3; Joint Rule 26(f) Report at 6, ECF No. 39.)
  12         Consistent with both Federal Rule of Civil Procedure 26(f)(1) and the
  13 directions in the Court’s Initial Standing Order that “it is advisable for counsel to
  14 begin to conduct discovery actively before the Scheduling Conference,” the parties
  15 moved forward with their Rule 26(f) Conference and filed a Joint Report on June
  16 18, 2019. (Initial Standing Order at 3, ECF No. 17; Joint Rule 26(f) Report, ECF
  17 No. 39.) Plaintiffs served targeted discovery requests on June 21, 2019. Defendants
  18 responded with boilerplate objections. (See Ehler Decl. Ex. A.) They now pray for
  19 an order compelling mediation and staying discovery in the meantime.
  20         Again, it appears that Defendants want to hide the true facts. While
  21 Defendants represented to the Court that they have “ceased operations,” (Ex Parte
  22 Appl. at 3), it appears that Defendant DeMeo is merely shifting from one infringing
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  27   Hovsat’s owner, Shant Hovnanian, is apparently in Armenia, avoiding a default
     judgment for over $16 million in civil tax penalties. (Declaration of Rose Leda
  28 Ehler in Support of Pls. Opp’n (“Ehler Decl.”) ¶ 2, filed concurrently herewith.)

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   1 operation (Omniverse) to another (OSTV Now), advertised as a new “One-Stop For
   2 TV Entertainment” to launch on September 1 2:
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  17 Whatever the branding, Defendants appear to be continuing their infringing
  18 practices. These and other important facts are exactly why discovery needs to move
  19 forward.
  20                                      ARGUMENT
  21         The standard for ex parte relief is that the moving party “will be irreparably
  22 prejudiced if the underlying motion is heard according to regular[ly] noticed motion
  23 procedures” and the moving party “is without fault in creating the crisis that requires
  24 ex parte relief, or that the crisis occurred as a result of excusable neglect.” Mission
  25 Power Eng’g Co. v. Continental Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995).
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       2
  27  See Ehler Decl. Exs. B, C, D; see also https://www.lightreading.com/video/video-
     services/ostv-now-omniverse-exec-offers-one-stop-shop-for-tv/a/d-id/753420;
  28 https://www.ostvnow.com/; https://www.jasondemeo.com/.

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   1 Consistent with this crisis-requiring standard, this Court’s standing orders provide
   2 that ex parte applications “are solely for extraordinary relief and should be used
   3 with discretion.” (Initial Standing Order at 10, ECF No. 17.) There is no crisis.
   4 Defendants will suffer no prejudice in complying with the Federal Rules of Civil
   5 Procedure and responding to Plaintiffs’ discovery requests. Defendants also are not
   6 without fault. They seek a mediation now, before Plaintiffs learn the extent of
   7 Defendants’ infringing operations. But mediation will be productive only if both
   8 sides know the key facts, not while one side is hiding them.
   9         A.    Defendants’ Demand For Mediation To Avoid Discovery
                   Obligations Is Not A Proper Basis For Ex Parte Relief
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  11         Normal discovery obligations are not grounds for ex parte relief and the cost
  12 of discovery is not hardship warranting a stay. Cf. Lockyer v. Mirant Corp., 398
  13 F.3d 1098, 1112 (9th Cir. 2005) (“being required to defend a suit, without more,
  14 does not constitute a ‘clear case of hardship or inequity’” to support a motion to
  15 stay); In re ConAgra Foods, Inc., Case No. CV 11-05379-MMM (AGRx), 2014 WL
  16 12580052, at *8 (C.D. Cal. Dec. 29, 2014) (holding that being required to defend a
  17 suit or comply with discovery obligations does not justify a stay).
  18         Defendants claim that discovery is “moot” and “wasteful” because “there is
  19 nothing left to litigate.” (Ex Parte Appl. at 3, 5.) They cite no authority for their
  20 proposition that a party’s mere assertion that it has voluntarily ceased infringing
  21 conduct warrants a stay of discovery and compelled mediation. Black letter law
  22 provides that voluntary cessation does not moot a claim. See, e.g., City of Mesquite
  23 v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982) (“It is well settled that a
  24 defendant’s voluntary cessation of a challenged practice does not deprive a federal
  25 court of its power to determine the legality of the practice.”); Already, LLC v. Nike,
  26 Inc., 568 U.S. 85, 91–92 (2013) (except in unusual circumstances, general rule is
  27 that voluntary conduct cannot moot a claim). Further, it appears that Defendant
  28 DeMeo has not abandoned his infringing ways—he has merely rebranded to “OSTV

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   1 Now.” Given this context, discovery of the questions that Defendants continue
   2 refusing to answer—e.g., the scope of Defendants’ infringing conduct, Defendants’
   3 willfulness, and the extent of damages—is even more critical. In any event, Rule 26
   4 authorizes Plaintiffs to pursue discovery related to their copyright infringement
   5 claims and damages so they may prosecute their case.
   6         Plaintiffs’ discovery requests are narrowly tailored and clearly relevant to
   7 establishing liability and damages on Plaintiffs’ claims. For example:
   8         Request for Admission No. 7: Admit that YOU have ceased
             STREAMING CONTENT.
   9
             Interrogatory No. 15: IDENTIFY all channels previously and/or
  10         currently distributed, streamed, transmitted, or otherwise
             communicated by YOU and the dates on which YOU made those
  11         channels available.
  12 (See Ehler Decl. Ex. A.) Defendants then failed to provide a single substantive
  13 response, despite their requesting (and Plaintiffs granting) a two-week extension.
  14 (See id.) Plaintiffs rightfully initiated the meet-and-confer process to pursue a
  15 motion to compel under Judge Walsh’s procedures. (Id. Ex. E.) Only then did
  16 Defendants start a rolling production of unusable single-page, “tiff”-format
  17 “documents.”
  18         While Defendants have said they will provide supplemental responses, this ex
  19 parte application is their effort to avoid those obligations under the guise of seeking
  20 mediation. (See Ex Parte Appl. at 5–6.) That is not a proper use of ex parte
  21 procedure. There is no “crisis,” much less a showing that Defendants “will be
  22 irreparably prejudiced if the underlying motion is heard according to regular[ly]
  23 noticed motion procedures.” Mission Power Eng’g Co., 883 F. Supp. at 492; see
  24 also Lockyer, 398 F.3d at 1112; In re ConAgra Foods, Inc., 2014 WL 12580052, at
  25 *8.
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   1         B.    Mediation Can Only Be Productive Once Defendants Respond To
                   Discovery And Confront The Facts In Good Faith
   2
   3         Defendants contend that “the parties reached an impasse when Plaintiffs
   4 demanded that Defendants admit to what amounts to egregious conduct in exchange
   5 for settlement” and “Defendants fear Plaintiffs intend to use such a stipulated
   6 judgment as part of a criminal investigation against Defendants.” (Ex Parte Appl. at
   7 3.) None of this is true.
   8         No “impasse” was reached. Rather, Defendants simply stopped negotiating in
   9 good faith. (See Ehler Decl. Ex. F.) Plaintiffs obviously could not agree to a
  10 settlement agreement littered with multiple pages of unsupported “facts” that
  11 Defendants sought to insert, given that there has been no discovery. After refusing
  12 to comply with the discovery necessary to test the “facts” they sought to include in
  13 the settlement agreement, Defendants unilaterally announced that mediation was
  14 necessary and stated they would seek an ex parte order compelling it if Plaintiffs
  15 would not voluntarily agree. (Id.) Again, this fails the Mission Power standard.
  16 Much less being “without fault” in creating the situation, it is Defendants’ failure to
  17 provide substantive discovery and negotiate in good faith that has prevented
  18 productive settlement discussions. See Mission Power, 883 F. Supp. at 492.
  19         Defendants also make unsubstantiated accusations and express a “fear” of
  20 how a stipulated judgment might be used in a criminal investigation. Plaintiffs will
  21 comply with their legal obligations to cooperate with any criminal investigation.
  22 But they have no control over that proceeding nor are they a party to it. Plaintiffs’
  23 interest is in obtaining civil relief in the form of an injunction and damages.
  24         The parties’ settlement progress to date makes clear a mediation is premature.
  25 Only when the facts are known to both sides (not just Defendants) can the parties
  26 meaningfully engage in a mediation. Defendants’ ex parte is a transparent attempt
  27 to avoid the very discovery that would reveal those facts, seemingly so they can
  28 continue infringing in the meantime.

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   1                                     CONCLUSION
   2        For the foregoing reasons, Plaintiffs respectfully request that the Court deny
   3 Defendants’ ex parte application.
   4
   5 DATED: August 20, 2019               MUNGER, TOLLES & OLSON LLP
   6
   7                                      By:        /s/ Rose Leda Ehler
   8                                          ROSE LEDA EHLER
                                          Attorneys for Plaintiffs
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